Case 1:99-cr-00870-JLK Document 31 Entered on FLSD Docket 02/25/2000 Page 1 of 6

AQ 2458 Rev. 8/96) Sheet 1 - Judgment in a Criminal Case

 

 

Southern District of Florida

UNITED STATES OF AMERICA
v

BASSAM GHARIB MAKKI

THE DEFENDANT:

[x] pleaded guilty to count(s) One

[| pleaded nolo contendere to count(s)

JUDGMENT IN A CRIMIN

 

(For Offenses Committed On or After November 1, 198

Case Number: 1:99CR00870-001
AUSA David Buckner/J. Wil Morris, Esq.

 

Defendant's Attorney

 

which was accepted by the court.
{_] was found guilty on count(s)

 

after a plea of not guilty.

Title & Section Nature of Offense
18 U.S.C. § 1623 Perjury

Date Offense
Concluded

09/21/1998

Count

Number{s)

One

The defendant is sentenced as provided in pages 2 through _ 6 _ of this judgment. The sentence is imposed pursuant

to the Sentencing Reform Act of 1984.
[| The defendant has been found not guilty on count(s)

 

{| Count(s) (is)(are) dismissed on the motion of the United States.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this

judgment are fully paid.
Defendant's Soc. Sec. No.:
Defendant's Date of Birth: 07/25/1967

 

Defendant's USM No.: §8753-004

 

 

 

02/17/2000
Date of Imposition of Judgment

bawhe,

Defendant's Residence Address:
Federal Detention Center

nature of Judicial Officer } /
Miami FL JAMES LAWRENCE KING

U.S, DISTRICT JUDGE

 

Defendant's Mailing Address:
Federal Detention Center

 

Miami FL

 

 

Rec’d in MIA Dkt _ z-zut- 0

 

Name & Title of Judicial Officer

dh] 00
Date
  

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DEFENDANT: BASSAM GHARIB MAKKI
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IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total term of 4 month(s) ;

The defendant shall be given credit for time served. The defendant shall be deported forthwith.

( ] The court makes the following recommendations to the Bureau of Prisons:

Xx The defendant is remanded to the custody of the United States Marshal.

[| The defendant shall surrender to the United States Marshal for this district:

[| at a.m/p.m. on
[_] as notified by the United States Marshal.

[| The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
[| before 2 p.m. on

[_] as notified by the United States Marshal.
[| as notified by the Probation or Pretrial Services Office.

 

 

 

 

 

 

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at , with a certified copy of this judgment.

 

 

UNITED STATES MARSHAL

By

 

Deputy U.S. Marshat
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DEFENDANT: BASSAM GHARIB MAKKI

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SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 3 year(s)

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:

The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one
drug test within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by
the probation officer.

(| The above drug testing condition is suspended based on the court's determination that the defendant poses
a low risk of future substance abuse. (Check, if applicable.)

I The defendant shall not possess a firearm as defined in 18 U.S.C. § 921. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release that the
defendant pay any such fine or restitution that remains unpaid at the commencement of the term of supervised release
in accordance with the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below) . The

defendant shall also comply with the additional conditigns on. ihe attached page | (f indicated below .

STANDARD CONDITIONS OF SUPERVISION

1) the defendant shall not leave the judicial district without the permission of the court or probation officer;

2) the defendant shail report to the probation officer and shall submit a truthful and complete written report within the first
five days of each month;

3) the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
officer;

4) the defendant shall support his or her dependents and meet other family responsibilities;

5) the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or
other acceptable reasons;

6) the defendant shall notify the probation officer ten days prior to any change in residence or employment;

7) the defendant shall refrain from excessive use of alcohol;

8) the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;

9) the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
convicted of a felony unless granted permission to do so by the probation officer;

10) the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view of the probation officer;

11) the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
enforcement officer;

12) the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
without the permission of the court;

13) as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
notifications and to confirm the defendant's compliance with such notification requirement.
 

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DEFENDANT: BASSAM GHARIB MAKKI
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SPECIAL CONDITIONS OF SUPERVISION

At the completion of the defendant's term of imprisonment, the defendant shall be surrendered to the custody of the Immigration
and Naturalization Service for deportation proceedings consistent with the Immigration and Nationality Act.

If deported, the defendant shall not reenter the United States without the express permission of the United States Attorney General.
The term of supervision shall be non-reporting if the defendant resides outside the United States. If the defendant should reenter
the United States within the term of supervised release, the defendant is to report to the nearest United States Probation Office
within 72 hours of his or her arrival
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DEFENDANT: BASSAM GHARIB MAKKI

CASENUMBER: —1:99CR00870-001
CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of payments set
forth on Sheet 5, Part B.

Assessment Fine Restitution
Totals: $ 100.00 $ $
(| If applicable, restitution amount ordered pursuant to plea agreement............. $
FINE

The above fine includes costs of incarceration and/or supervision in the amount of $

The defendant shall pay interest on any fine of more than $2,500, unless the fine is paid in full before the @ fifteenth day
after the date of judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 5, Part B may be subject to
penatties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

[| The court determined that the defendant does not have the ability to pay interest and it is ordered that:
[| The interest requirement is waived.

[| The interest requirement is modified as follows:

RESTITUTION

[| The determination of restitution is deferred until . An Amended Judgment in a Criminal Case

will be entered after such a determination.

[| The defendant shail make restitution to the following payees in the amounts listed below.

if the defendant makes a partial payment, each payee shail receive an approximately proportional payment unless
specified otherwise in the priority order or percentage payment column below.

Priority Order
* Total Amount of or Percentage
Name of Payee AmountofLloss Restitution Ordered of Payment

Totals: $ $

* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses
committed on or after September 13, 1994 but before April 23, 1996.
 

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DEFENDANT: BASSAM GHARIB MAKKI
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SCHEDULE OF PAYMENTS

Payments shall be applied in the following order: (1) assessment; (2) restitution; (3) fine principal; (4) cost of prosecution; (5)
interest; (6) penalties.

Payment of the total fine and other criminal monetary penalties shall be due as follows:
A [Xx] in full immediately; or

B [| $ immediately, balance due (in accordance with C, D, or E); or
C [ ] notiaterthan sor
D [ ] in installments to commence day(s) after the date of this judgment. In the event the entire amount of

 

criminal monetary penalties imposed is not paid prior to the commencement of supervision, the U.S. probation officer
shall pursue collection of the amount due, and shall request the court to establish a payment schedule if
appropriate; or

E [jin (0g. equal, weekly, monthly, quarterly) installments of $____
over a period of year(s) to commence day(s) after the date of this judgment.

 

 

The defendant will receive credit for all payments previously made toward any criminal monetary penalties imposed.
Special instructions regarding the payment of criminal monetary penalties:

[| The defendant shall pay the cost of prosecution.

[ The defendant shail forfeit the defendant's interest in the following property to the United States:

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal monetary
penalty payments, except those payments made through the Bureau of Prisons’ Inmate Financial Responsibility Program are to
be made as directed by the court, the probation officer, or the United States attorney.
